 Case 8:12-cv-01145-JVS-RNB Document 25 Filed 08/05/13 Page 1 of 1 Page ID #:114
                                                                                                                    FOR COURT USE ONLY
                               UNITED STATES DISTRICT COURT                                                         DUE DATE:
                              CENTRAL DISTRICT OF CALIFORNIA
                        TRANSCRIPT DESIGNATION AND ORDERING FORM
1. NAME                                                  2. PHONE NUMBER                                            3. DATE
              Amir J. Goldstein, Esq.                                323.937.0400                                   08/05/2013
4. FIRM NAME:       Law Offices of Amir J. Goldstein, Esq.              5. E-MAIL ADDRESS:            ajg@consumercounselgroup.com
6. MAILING ADDRESS                                                      7. CITY                                     8. STATE 9. ZIP CODE
           5455 Wilshire Blvd. Suite 1812                                             Los Angeles                       CA       90036
10. CASE NUMBER          11. CASE NAME                                                                              12. JUDGE
 SACV 12-1145-JVS (RNBx)           Rebecca Marek v D. Scott Carruthers, et al                                             Selna / Block
13. APPEAL CASE NUMBER 14. ORDER FOR                               APPEAL            ✔   NON-APPEAL                CRIMINAL JUSTICE ACT
              n/a                      IN FORMA PAUPERIS                    AUSA            FPD         OTHER

15. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)
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                           COURT
 HEARING DATE                                                                            PROCEEDINGS
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                                                    VOIR          OPENING                SETTLEMENT          CLOSING          JURY
                                                                                     ✔
                                                    DIRE          STATEMENTS             INSTRUCTIONS        ARGUMENTS        INSTRUCTIONS
May 2, 2013           COURT SMART
                                                    PRE-TRIAL       OTHER
                                                                  ✔
                                                    PROCEEDINGS     (PLEASE SPECIFY): Material terms of settlement agreement
                                                    VOIR      OPENING         SETTLEMENT         CLOSING          JURY
                                                    DIRE      STATEMENTS      INSTRUCTIONS       ARGUMENTS        INSTRUCTIONS
                                                    PRE-TRIAL       OTHER
                                                    PROCEEDINGS     (PLEASE SPECIFY):
                                                    VOIR      OPENING         SETTLEMENT                     CLOSING          JURY
                                                    DIRE      STATEMENTS      INSTRUCTIONS                   ARGUMENTS        INSTRUCTIONS
                                                    PRE-TRIAL       OTHER
                                                    PROCEEDINGS     (PLEASE SPECIFY):
                                                    VOIR      OPENING         SETTLEMENT                     CLOSING           JURY
                                                    DIRE      STATEMENTS      INSTRUCTIONS                   ARGUMENTS         INSTRUCTIONS
                                                    PRE-TRIAL       OTHER
                                                    PROCEEDINGS     (PLEASE SPECIFY):
                                                    VOIR      OPENING         SETTLEMENT                     CLOSING           JURY
                                                    DIRE      STATEMENTS      INSTRUCTIONS                   ARGUMENTS         INSTRUCTIONS
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